Case 16-41311       Doc 29    Filed 08/24/18 Entered 08/24/18 09:55:16
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                                                                               08/24/2018

                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

IN RE:                                      §
                                            §
REGINA DUTTON                               §       CASE NO. 16-41311
                                            §
                                            §            CHAPTER 13
                                            §
         DEBTOR                             §

          ORDER SUSTAINING DEBTOR'S OBJECTION TO PROOF OF CLAIM
                           #12 FILED BY SETERUS

        ON THIS DATE, the Court considered the Debtor's objection to proof of claim #12
filed by SETERUS (the "Claimant") on or about 12/08/2016 in the amount of $368,611.78.
The Debtor filed such objection on 07/05/2018. The Court finds that the objection to claim
contains proof sufficient to overcome the presumption of validity imposed by Fed. R. Bankr. P.
3001(f) and was properly served pursuant to Federal and Local Rules of Bankruptcy
Procedure. The Court further finds that the objection contained the appropriate 30-day
negative notice language, pursuant to LBR 3007, which directed the Claimant to file a written
response within 30 days or the objection to claim would be deemed by the Court to be
unopposed. Due to the failure of the Claimant to file a timely written response to the
objection, the Court deems the Debtor's claim objection to be unopposed and, therefore, the
Court finds that just cause exists for the entry of the following order.

       IT IS THEREFORE ORDERED that the Debtor's Objection to the Proof of Claim
filed by Claimant is SUSTAINED and that claim #12 filed by SETERUS is hereby allowed
as a secured claim in the amount of $368,611.78, with a pre-petition arrearage claim of
$15,558.44 shall be paid by the Trustee at 0% interest.


                                                     Signed on 8/24/2018

                                                                                       MD
                                            HONORABLE BRENDA T. RHOADES,
                                            UNITED STATES BANKRUPTCY JUDGE
